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 7

 8                                  UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10

11   OPERATING ENGINEERS’ HEALTH AND                                Case No.
     WELFARE TRUST FUND FOR NORTHERN
12   CALIFORNIA; DAN REDING and JAMES E.                            COMPLAINT
     MURRAY, Trustees;
13
     PENSION TRUST FUND FOR OPERATING
14   ENGINEERS; DAN REDING and JAMES E.
     MURRAY, Trustees;
15
     PENSIONED OPERATING ENGINEERS’
16   HEALTH AND WELFARE TRUST FUND; DAN
     REDING and JAMES E. MURRAY, Trustees;
17
     OPERATING ENGINEERS AND PARTICIPATING
18   EMPLOYERS PRE-APPRENTICE, APPRENTICE
     AND JOURNEYMEN AFFIRMATIVE ACTION
19   TRAINING FUND; DAN REDING and JAMES E.
     MURRAY, Trustees;
20
     OPERATING ENGINEERS LOCAL UNION NO. 3
21   VACATION, HOLIDAY AND SICK PAY TRUST
     FUND; DAN REDING and JAMES E. MURRAY
22
     OPERATING ENGINEERS LOCAL 3 HEAVY
23   AND HIGHWAY TRUST FUND
               Plaintiffs,
24
            v.
25
     MARK J. HANSEN individually and dba M & M
26   HANSEN COMMUNICATIONS CONTRACTING,
27                  Defendant.
28
                                                          1
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 1                                                      Parties

 2          1.      The Operating Engineers’ Health and Welfare Trust Fund for Northern California

 3   (“Health Fund”); Pension Trust Fund for Operating Engineers (which includes the Pension Plan for the

 4   Pension Trust Fund for Operating Engineers, and the Operating Engineers Annuity Plan) (“Pension

 5   Fund”); Pensioned Operating Engineers’ Health and Welfare Trust Fund (“Pensioned Health Fund”);

 6   Operating Engineers and Participating Employers Pre-apprentice, Apprentice and Journeymen

 7   Affirmative Action Training Fund (“Affirmative Action Training Fund”); and the Operating Engineers

 8   Local Union No. 3 Vacation, Holiday and Sick Pay Trust Fund (“Vacation Fund”) are employee benefit

 9   plans as defined in the Employee Retirement Income Security Act of 1974 (“ERISA”) § 3(3), 29 U.S.C.

10   § 1002(3), and are multi-employer plans as defined by ERISA § 3(37)(A), 29 U.S.C. § 1002(37)(A).

11   Dan Reding and James E. Murray are Co-Chairmen of the Joint Boards of Trustees of the Health Fund,

12   Pension Fund, Pensioned Health Fund, Affirmative Action Training Fund, and Vacation Fund, and have

13   authority to act on behalf of all Trustees of those Funds. The Funds and their fiduciaries are together

14   referred to herein as “ERISA Plaintiffs” or “Plaintiffs.”

15          2.      The Operating Engineers Local 3 Heavy and Highway Trust is a Trust established under

16   the Labor Management Relations Act (“LMRA”), 302(c)(9), 29 U.S.C. § 186(c)(9).

17          3.      Mark J. Hansen, individually and doing business as M & M Hansen Communications

18   Contracting (“Defendant”), is an employer by virtue of ERISA § 3(5), 29 U.S.C. § 1002(5), and NLRA

19   § 2(2), 29 U.S.C. § 152(2).

20                                                   Jurisdiction

21          4.      Jurisdiction exists in this Court over the claims asserted by ERISA Plaintiffs by virtue of

22   ERISA § 502, 29 U.S.C. § 1132, in that Plaintiffs seek to enforce the provisions of ERISA and the terms

23   of their plans, seek to enjoin the acts and practices which violate ERISA, seek equitable relief to redress

24   such violations, and seek all other appropriate relief under ERISA.

25          5.      Jurisdiction exists in this Court over all the claims by virtue of Labor Management

26   Relations Act (“LMRA”) § 301, 29 U.S.C. § 185, in that Plaintiffs seek to enforce the terms and

27   conditions of a valid Bargaining Agreement.

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 1            6.      To the extent jurisdiction over any claim does not exist under ERISA or the LMRA,

 2   supplemental jurisdiction exists in this Court over such claims by virtue of 29 U.S.C. § 1367 in that they

 3   arise out of a common nucleus of operative facts that form the basis of the federal claims asserted

 4   herein, each of which has a substantial ground in federal jurisdiction.

 5                                                        Venue

 6            7.      Venue is conferred upon this Court by ERISA § 502, 29 U.S.C. § 1132. Where an action

 7   is brought under ERISA § 502 in a district court of the United States, it may be brought at Plaintiffs’

 8   discretion, in the district where the plan is administered, where the breach took place, or where a

 9   defendant resides or may be found, and process may be served in any other district where a defendant

10   resides or may be found. ERISA Plaintiffs’ Trust Funds are administered in this district at their principal

11   place of business in Alameda, California. Thus, jurisdiction and venue are properly grounded with this

12   Court.

13            8.      Venue exists in this Court with respect to the claims under LMRA § 301(a), 29 U.S.C. §

14   185, as this Court has jurisdiction over the parties, as the Operating Engineers Local Union No. 3 of the

15   International Union of Operating Engineers, AFL-CIO (“Union”) maintains its principal place of

16   business in this district, its duly authorized officers or agents are engaged in representing employee

17   members in this district, and the claims arise in this district.

18                                              Intradistrict Assignment

19            9.      The basis for assignment of this action to this Court’s Oakland Division is that all of the

20   events and omissions giving rise to Plaintiffs’ claims occurred in the County of Alameda, where ERISA

21   Plaintiffs’ Funds and the Bargained Plans are administered, and where Defendant therefore failed to

22   fulfill its statutory and contractual obligations to Plaintiffs.

23                                               Bargaining Agreements

24            10.     Defendant entered into the Independent Northern California Construction Agreement (the

25   “Independent Agreement”) with the Union, which incorporates the Master Agreement (“Master

26   Agreement”) between the Union and the Associated General Contractors of California, Inc. The

27   Independent Agreement and Master Agreement are collectively referred to hereinafter as the

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 1   “Bargaining Agreements.” The Bargaining Agreements, which incorporate the terms of the Trust

 2   Agreements establishing the Trust Funds (“Trust Agreements”), requires Defendant to provide employer

 3   contributions to Plaintiffs’ Trust Funds, to the Union for union dues, and to the other plans more fully

 4   described in the Bargaining Agreements. ERISA Plaintiffs are third-party beneficiaries of the

 5   Bargaining Agreements.

 6          11.    Under the terms of the Master Agreement and the Trust Agreements incorporated therein,

 7   Defendant is required to pay certain contributions to the Operating Engineers Industry Stabilization

 8   Trust Fund. Plaintiffs’ Boards of Trustees are assigned to receive and administer monies due to the

 9   Operating Engineers Industry Stabilization Trust Fund (referred herein as “Bargained Plans”).

10          12.    Under the terms of the Bargaining Agreement, and Trust Agreements incorporated

11   therein, Defendant is required to pay certain contributions to: the Operating Engineers’ Vacation and

12   Holiday Pay Plan; Contract Administration Fund; Job Placement Center and Market Area Committee

13   Administration Market Preservation Fund; Industry Stabilization Fund; and Business Development Trust

14   Fund (together referred to herein as the “Bargained Plans”). Plaintiffs’ Boards of Trustees have been

15   authorized to collect and distribute monies due to the Bargained Plans under the Bargaining Agreements

16   and Trust Agreements.

17          13.    Under the Bargaining Agreements and Trust Agreements, which are incorporated into the

18   Bargaining Agreements and made binding on Defendants, Defendant is required to regularly pay to

19   ERISA Plaintiffs, the Bargained Plans, and the Union, certain sums of money, the amounts of which are

20   determined by the hours worked by Defendant’s employees. Contributions are due on the fifteenth

21   (15th) day of the month following the month in which hours were worked, and are considered

22   delinquent if not received by the twenty-fifth (25th) day of that month. Defendant is also required,

23   pursuant to the Bargaining and Trust Agreements, to pay liquidated damages in the amount of ten

24   percent (10%) for each delinquent contribution, but in the amount of twenty percent (20%) for each

25   delinquent contribution which is the subject of litigation. Moreover, the Bargaining and Trust

26   Agreements provide that interest accrues on delinquent contributions at the rates reasonably set by the

27   Trustees from the date they become delinquent, which is the twenty-sixth (26th) day of the month in

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 1   which payment was due, until paid in full.

 2          14.     The Bargaining and Trust Agreements further require Defendant to maintain time records

 3   or time cards, and to permit an authorized Trust Fund representative to examine such records of

 4   Defendant as is necessary to determine whether Defendant has made full payment of all sums owed to

 5   ERISA Plaintiffs. Should an audit of Defendant’s records reveal Defendant has failed to provide full and

 6   prompt payment of all sums due to Plaintiffs, Defendant must reimburse Plaintiffs for the amounts due,

 7   including audit fees, in addition to any other obligations pursuant to the Bargaining and Trust

 8   Agreements.

 9                                                Factual Allegations

10          15.     Defendant has failed and refused to comply with an audit of its payroll records for the

11   period from October 1, 2017 through June 30, 2018.

12          16.     Defendant also failed to timely pay all amounts owed for contributions for hours worked

13   by its employees during the months of July 2019, September 2019, and October 2019. Liquidated

14   damages and interest have been incurred and are owed to Plaintiffs for that period.

15          17.     Plaintiffs are also entitled to recover any and all contributions, and all liquidated damages

16   and interest on delinquent contributions, found due on timecards, audit, or otherwise including estimated

17   contributions for months Defendant failed to report to Plaintiffs, through the time of Judgment. Plaintiffs

18   reserve the right to conduct a further audit to determine whether there are any additional amounts due

19   from Defendant.

20
                                     FIRST CAUSE OF ACTION
21      For Audit Compliance, Payment of Delinquent Contributions, Interest, Liquidated Damages,
                              Attorneys’ Fees and Costs Against Defendant
22
            18.     Plaintiffs re-allege and incorporate by reference paragraphs 1 through 17, above.
23
            19.     Defendant has a contractual duty to timely pay the required contributions to Plaintiffs and
24
     the Bargained Plans, and to timely pay dues to the Union, pursuant to the Bargaining Agreements and
25
     Trust Agreements. Defendant also has a contractual duty under the Bargaining Agreements, and Trust
26
     Agreements to permit an audit of its records to determine whether it is making full and prompt payment
27
     of all sums required to be paid by them to Plaintiffs, and to pay Plaintiffs all amounts found due as a
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 1   result of an audit, including audit fees.

 2          20.     In addition, Defendant has a statutory duty to timely make the required payments to

 3   Plaintiffs under ERISA § 515, 29 U.S.C. § 1145, and LMRA § 301(a).

 4          21.     By failing to make the required payments to Plaintiffs, Defendant breached the

 5   Bargaining Agreements and is in violation of ERISA § 515, 29 U.S.C. § 1145, and LMRA § 301(a). In

 6   addition, by refusing to permit an audit of its records, Defendant breached the Bargaining Agreement.

 7          22.     Defendant’s failure and refusal to permit the audit and pay the required contributions was

 8   at all times, and still is, willful. Defendant continues to breach the Bargaining Agreements, and

 9   incorporated Trust Agreements, by failing to permit the audit and pay all amounts owed as alleged. Said

10   refusal is unjustified and done with knowledge and intent.

11          23.     ERISA Plaintiffs are without an adequate remedy at law and will suffer continuing and

12   irreparable injury, loss and damage unless Defendant is ordered specifically to perform all obligations

13   required on Defendant’s part to be performed under ERISA, 29 U.S.C. §§ 1101-1381, the LMRA, 29

14   U.S.C. §§ 141-197, and the Bargaining Agreements and Trust Agreements, and are restrained from

15   continuing to refuse to perform as required thereunder.

16          24.     This Court is authorized to issue injunctive relief based on the traditional standard. As set

17   forth above, ERISA Plaintiffs have a strong likelihood of success on the merits. There is the possibility

18   that ERISA Plaintiffs’ Trust Funds and their participants will suffer irreparable injuries. The balance of

19   hardships and advancement of public interest favor ERISA Plaintiffs.

20          25.     This Complaint does not in any manner relate to statutory withdrawal liability that may or

21   may not be assessed against Defendant. ERISA Plaintiffs expressly reserve the right to pursue any such

22   withdrawal liability claims against Defendant as provided by ERISA Plaintiffs’ Plan Documents, Trust

23   Agreements, and the law.

24                                                     Prayer

25          WHEREFORE, Plaintiffs pray as follows:

26          1.      For an order,

27                  (a)     requiring that Defendant comply with its obligations to Plaintiffs under the terms

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 1   of the Bargaining Agreements and Trust Agreements, including permitting an audit of its records as

 2   requested by Plaintiffs;

 3                    (b)         enjoining Defendant from violating the terms of those documents and of ERISA;

 4   and

 5                    (c)         enjoining Defendant from disposing of any assets until said terms have been

 6   complied with, and from continuation or operating of Defendant’s business until said terms have been

 7   complied with.

 8           2.       For a judgment against Defendant as follows:

 9                    (a)         Any unpaid contributions, due at time of Judgment, including those determined as

10   due by audit, timecards, or otherwise, including estimated contributions for any months Defendant fails

11   to report to Plaintiffs pursuant to ERISA § 502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A);

12                           i.          To ERISA Plaintiffs and the Bargained Plans, in accordance with ERISA

13   § 502(g)(2)(A), 29 U.S.C. § 1132(g)(2)(A) and the Bargaining Agreements;

14                          ii.          To the Union in accordance with the Bargaining Agreements.

15                    (b)         Liquidated damages on any late-paid and unpaid contributions in an amount

16   provided for under the Bargaining and Trust Agreements, and with respect to ERISA Plaintiffs, ERISA

17   § 502(g)(2)(c), 29 U.S.C. § 1132(g)(2)(c).

18                    (c)         Interest on any late-paid and unpaid contributions at the rates set in accordance

19   with the Bargaining Agreements, the Trust Agreements, and ERISA § 502(g)(2)(B), 29 U.S.C. § 1132

20   (g)(2)(B).

21           3.       Plaintiffs’ reasonable attorneys’ fees and costs of this action, including any audit fees, in

22   accordance with ERISA § 502(g)(2)(D) and (E), 29 U.S.C. § 1132(g)(2)(D) and (E); and in accordance

23   with the Bargaining Agreements for all Bargained Plans; and with LMRA § 301, 29 U.S.C. § 185, for all

24   Plaintiffs.

25           4.       That the Court retain jurisdiction of this case pending compliance with its orders.

26           5.       For such other and further relief as the Court may deem just and proper.

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 1   DATED: December 20, 2019                 SALTZMAN & JOHNSON LAW
                                              CORPORATION
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 3                                     By:
 4                                                                                       /S/
                                              Eric K. Iwasaki
 5                                            Attorneys for Operating Engineers’ Health And
                                              Welfare Trust Fund, et al.
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